                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION

UNITED STATES OF AMERICA                  )           DOCKET NO.: 1:23CR14
                                          )
      v.                                  )           PETITION FOR WRIT OF HABEAS
                                          )           CORPUS AD PROSEQUENDUM
THOMAS DEWEY TAYLOR, JR.                  )
                                          )
_________________________________________ )

       NOW COMES the United States of America, by and through Dena J. King, United States

Attorney for the Western District of North Carolina, and moves the Court to issue a Writ of Habeas

Corpus ad Prosequendum for Thomas Dewey Taylor, Jr. W/M, DOB 06/23/1978, who is presently

detained in the Avery County Jail, for his appearance before the Court in the Western District of

North Carolina in connection with charges in the above district against said Defendant.

       Movant further prays that said Writ direct that immediately after the disposition of the

above captioned case Defendant shall be returned to the custody of Avery County Jail, under safe

and secure conduct.

       RESPECTFULLY SUBMITTED, this 9th day of February, 2023.


                                                    DENA J. KING
                                                    UNITED STATES ATTORNEY

                                                    s/Alex M. Scott
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